                     UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA ALLIANCE FOR
RETIRED AMERICANS,
     Plaintiff,
                                            Case No.1:23-cv-00837-WO-JLW
     v.
ALAN HIRSCH, in his official capacity
as Chair of the State Board of Elections,
JEFF CARMON, in his official capacity
as Secretary of the State Board of
Elections, STACY EGGERS IV, in his
official capacity as Member of the State
Board of Elections, KEVIN N. LEWIS,
in his official capacity as Member of the
State Board of Elections, SIOBHAN
O’DUFFY MILLEN, in her official
capacity as Member of the State Board of
Elections, KAREN BRINSON BELL, in
her official capacity as Executive
Director of the State Board of Elections,

     Defendants.


 PLAINTIFF’S RULE 65 MOTION TO CONSOLIDATE PRELIMINARY
      INJUNCTION HEARING WITH TRIAL ON THE MERITS




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                                 INTRODUCTION

      Pursuant to Federal Rule of Civil Procedure 65(a)(2), Plaintiff respectfully

requests that the Court advance the trial on the merits and consolidate it with the

preliminary injunction hearing, to take place after the March 5, 2024, primary

election.1 Plaintiff has conferred with counsel for State Board Defendants and

Intervenors.2 Intervenors oppose Plaintiff’s request, but the State Board Defendants

do not.

      Federal Rule of Civil Procedure 65(a)(2) “wisely permits the district court in

an appropriate case to hear a motion for preliminary injunction and conduct a hearing

on the merits at the same time.” AttorneyFirst, LLC v. Ascension Ent., Inc., 144 F.

App’x 283, 287 (4th Cir. 2005) (quoting Gellman v. Maryland, 538 F.2d 603, 604

(4th Cir. 1976)). Plaintiff respectfully requests that the Court do so here.

      Consolidation is appropriate here because this case turns on legal questions,

for which further factual development is not required. See Phillips v. Hechler, 120

F. Supp. 2d 587, 588 (S.D. W. Va. 2000). In resolving Plaintiff’s Preliminary



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  Plaintiff does not seek an injunction that would affect the 2024 primary election,
in recognition of the administrative difficulties that such relief might entail.
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  Defendants are Alan Hirsch, Jeff Carmon, Stacy Eggers, IV, Kevin N. Lewis,
Siobhan O’Duffy Millen, and Karen Brinson Bell (collectively, “State Board
Defendants”). Intervenors are Philip E. Berger, in his official capacity as President
Pro Tempore of the North Carolina Senate, and Timothy K. Moore, in his official
capacity as Speaker of the North Carolina House of Representatives (together,
“Intervenors”).

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Injunction Motion, this Court must determine whether it has subject matter

jurisdiction and whether the 30-Day Residency Requirement violates the VRA and

U.S. Constitution. Those same issues will be dispositive on the merits. Plaintiff’s

facial challenge to the 30-Day Residency Requirement does not depend on any facts

about the 30-Day Residency Requirement’s application to any particular election.

Thus, because further factual development will not aid the Court, this case is well-

suited to consolidation with the merits under Rule 65(a)(2). See, e.g., Underwood v.

City Council of Greenville, 316 F. Supp. 956, 959 (E.D.N.C. 1970) (consolidating

preliminary injunction hearing with a trial on the merits because both would require

the court to determine the constitutionality of the challenged law); Hess v. Hughes,

500 F. Supp. 1054, 1056 (D. Md. 1980) (ordering consolidation in part because “all

the evidence and arguments on the validity of a preliminary injunction would

likewise appear to the Court to be all the relevant evidence in this case”) (citing Penn

v. San Juan Hosp., Inc., 528 F.2d 1181, 1187 (10th Cir. 1975)).

      Moreover, reaching the ultimate issues of the case on an expedited timeline

would “‘serve the interests of justice’” by allowing for final resolution of the merits

before the “imminent general election.” Phillips v. Hechler, 120 F. Supp. 2d 587,

588 (S.D. W. Va. 2000) (ordering consolidation, even without clear notice to parties,

in part to resolve challenge to election law before upcoming election) (quoting

Pughsley v. 3750 Lake Shore Drive Coop. Bldg., 463 F.2d 1055, 1057 (7th Cir.


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1972)). Because of the importance of the issues at stake, and the harm from delaying

relief, “civil rights cases are especially suitable for such simultaneous development.”

Singleton v. Anson Cnty. Bd. of Educ., 387 F.2d 349, 351 (4th Cir. 1967).

      Given that the preliminary injunction motion and ultimate merits turn on the

same questions of law, and in light of the fundamental voting rights at stake, Plaintiff

respectfully requests that this Court consolidate a hearing on plaintiffs’ preliminary

injunction motion with an expedited trial on the merits.

Dated: February 20, 2024.                  Respectfully submitted,

                                           /s/ Narendra K. Ghosh
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                               * Participating via Notices of Special
                               Appearance


                               Counsel for Plaintiff




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